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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK


           E. JEAN CARROLL,

                                           Plaintiff,                 Index No. _____________

               -against-

                                                                     COMPLAINT AND
                                                                     JURY DEMAND
           DONALD J. TRUMP, in his personal capacity,

                                           Defendant.



                  Plaintiff E. Jean Carroll (“Plaintiff” or “Carroll”), by and through her attorneys at Kaplan

          Hecker & Fink LLP, alleges as follows:

                                                   INTRODUCTION

                  1.       Nobody in this nation is above the law. Nobody is entitled to conceal acts of sexual

          assault behind a wall of defamatory falsehoods and deflections. The rape of a woman is a violent

          crime; compounding that crime with acts of malicious libel is abhorrent. Yet that is what Defendant

         Donald J. Trump did to Plaintiff E. Jean Carroll.

                  2.       Roughly 23 years ago, playful banter at the luxury department store Bergdorf

          Goodman on Fifth Avenue in New York City took a dark turn when Trump seized Carroll, forced

          her up against a dressing room wall, pinned her in place with his shoulder, and raped her.

                  3.       In the aftermath, Carroll confided in two close friends. One urged her to report the

          crime to the police, but the other warned that Trump would ruin her life and livelihood if she

          reported it.

                  4.       Carroll chose silence—and remained silent for over two decades.




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                 5.     Carroll knew then that sexual assault was pervasive. She also knew that men have

          been assaulting women and getting away with it since before she was born. And she knew that

          while a woman who accused any man of rape was rarely believed, a woman who accused a rich,

          famous, violent man of rape would probably lose everything. She therefore reasonably concluded

          that if she accused Donald Trump of rape he would bury her in threats and lawsuits, and she would

         probably lose her reputation, not to mention everything she had worked for and achieved.

                 6.     Near the end of the 2016 presidential election, Carroll watched in horror as

         numerous women offered highly credible (and painfully familiar) accounts of Trump assaulting

         them; Trump responded with insults and denials; the public fractured; and Trump not only won

         the election, but grew more popular with some supporters as a result of the controversy.

                 7.     Carroll’s mother, a respected Republican official in Indiana, was dying during the

         last six weeks of the presidential election. Carroll, wanting to make her mother’s last days as

         pleasant as possible and avoid causing her any pain, decided to remain silent about what Trump

         had done to her.

                 8.     But that all changed in late 2017, when the Harvey Weinstein scandal and its

         aftermath signaled a profound shift in how American society responds to accusations of sexual

         misconduct by powerful men. It suddenly seemed possible that even Trump could be held to

         account.

                 9.     For Carroll, that project grew more urgent—and more personal—as the #MeToo

         era prompted a flood of new letters to her advice column seeking her counsel about how to respond

         to sexual assault and abuse. In her column, Carroll encourages her readers to be brave, to think

         clearly, and to seek justice. When readers overcome with the doubt and anxiety have turned to her

         seeking advice, Carroll has always advised taking action. But she never confessed her own



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          experiences. She never revealed that she, too, had been a victim of sexual assault. Over time, as

         described below, the contradiction between Carroll’s words and her actions became increasingly

         untenable.

                 10.     Carroll is a journalist. She watched as a throng of women came forward and accused

         Trump of sexual assault, only to be denigrated and then brushed aside. When she felt she should

         finally come forward herself, Carroll wanted to do it differently. She decided to describe Trump’s

          rape in a book she had already begun to write about her experiences with various men. She did not

          want to tell her story to the police, a newspaper, an elected official, or a fellow journalist, and be

          treated as a “victim.” In other words, she wanted to tell her own story on her own terms.

                 11.     When Carroll’s account was published, Trump lashed out with a series of false and

          defamatory statements. He denied the rape. But there was more: he also denied ever having met

          Carroll or even knowing who she was. Through express statements and deliberate implications, he

          accused Carroll of lying about the rape in order to increase book sales, carry out a political agenda,

          advance a conspiracy with the Democratic Party, and make money. He also deliberately implied

          that she had falsely accused other men of rape. For good measure, he insulted her physical

          appearance.

                 12.     Each of these statements was false. Each of them was defamatory.

                 13.     Trump knew that these statements were false; at a bare minimum, he acted with

          reckless disregard for their truth or falsity. Trump had recognized Carroll on sight at Bergdorf

          Goodman. He knew who she was when he raped her, and he knew who she was in 2019. He

          certainly knew that she was telling the truth. After he lied about attacking her, he surrounded that

          central lie with a swarm of related lies in an effort to explain why she would invent an accusation

          of rape. To do so, he smeared her integrity, honesty, and dignity—all in the national press.



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                 14.     These lies were familiar to Trump. He had used them before, when other women

          stated that he had grabbed, groped, or raped them.

                 15.     Trump’s defamatory statements injured Carroll. They inflicted emotional pain and

          suffering, they damaged her reputation, and they caused substantial professional harm.

                 16.     Carroll filed this lawsuit to obtain redress for those injuries and to demonstrate that

          even a man as powerful as Trump can be held accountable under the law.

                                                   THE PARTIES

                 17.     Plaintiff E. Jean Carroll is a journalist, author, former writer for Saturday Night

          Live, and advice columnist for Elle magazine. She is a resident of the State of New York.

                 18.     Defendant Donald J. Trump is currently the President of the United States, although

          he is sued here only in his personal capacity. Since taking office, Trump has filed several lawsuits

          in his personal capacity, including Trump v. Vance, Jr. et al., No. 19 Civ. 8694 (S.D.N.Y.), Trump

          et al. v. Deutsche Bank AG et al., No. 19 Civ. 3826 (S.D.N.Y.), Donald J. Trump for President,

          Inc. et al. v. Padilla et al., No. 19 Civ. 1501 (E.D. Cal.), Trump v. Committee on Ways and Means

          of the U.S. House of Representatives et al., No. 19 Civ. 2173 (D.D.C.), and Trump et al. v.

          Committee on Oversight and Reform of the U.S. House of Representatives et al., No. 19 Civ. 1136

          (D.D.C.). Trump is also defending a related case pending in this Court. See Zervos v. Trump, No.

          150522/2017 (N.Y. Sup. Ct., N.Y. Cty.). Trump is a resident of the State of New York.

                                                  JURY DEMAND

                 19.     Plaintiff E. Jean Carroll hereby demands a trial by jury.

                                            JURISDICTION & VENUE

                 20.     This Court has jurisdiction pursuant to NY CPLR § 301.

                 21.     Venue is proper in this county pursuant to NY CPLR § 503 and § 509.



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                                           FACTUAL ALLEGATIONS

          I.    TRUMP RAPES CARROLL AT BERGDORF GOODMAN

                22.     One evening between the fall of 1995 and the spring of 1996, Carroll left work and

         went to Bergdorf Goodman, the luxury department store on Fifth Avenue in New York City. She

         was and remains a regular shopper at Bergdorf’s.

                23.     That evening, Carroll did not find whatever she was looking for and prepared to

         leave Bergdorf’s empty-handed. As she exited through Bergdorf’s revolving side door on 58th

         Street, Trump arrived and entered through that very same door, which was cater-cornered across

         from the Plaza Hotel.

                24.     Trump instantly recognized Carroll on sight. They had met at least once before and

         had long traveled in the same New York City media circles. In this period, Carroll was doing the

         daily Ask E. Jean TV show, a small hit on the “America’s Talking” network started by Roger

         Ailes. She was also on a frequent guest and commentator on the widely watched Today show.

                25.     Trump put up his hand to stop her from exiting and said, “Hey, you’re that advice

         lady!” Carroll, struck by his boyish good looks, responded by saying, “Hey, you’re that real estate

         tycoon!”

                26.     Trump said that he was at Bergdorf’s to buy a present for “a girl” and asked Carroll

         to come advise him. Carroll was surprised but thrilled that Trump would want her advice. She

         stuck around, imagining the funny stories that she might later recount.

                27.     Trump and Carroll began searching for a gift that Trump could give to the unnamed

         girl. As they stood just inside the door, Carroll pointed to the handbags. Trump made a face; he

         did not like that idea. Carroll instead suggested a hat. Trump walked over, going straight for a fur

         hat, prompting Carroll to object that no woman would wear a dead animal on her head.



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                 28.     As Trump cuddled the fur hat, Carroll asked how old “the girl” was. Trump did not

          answer, instead asking Carroll how old she was. When Carroll replied that she was fifty-two years

          old, he taunted her, “You’re so old!”

                 29.     Trump then had an idea: He would buy lingerie instead.

                 30.     Trump and Carroll rode up the escalator to the lingerie department. When they

         arrived, it was uncharacteristically empty, with no sales attendant in sight. Sitting on the counter

         near them were two or three boxes and a see-through bodysuit in lilac gray.

                 31.     Snatching the bodysuit, Trump insisted that Carroll try it on. Bemused, Carroll

         responded that he should try it on himself, adding that it was his color. Trump and Carroll went

         back and forth, teasing each other about who should try on the bodysuit.

                 32.     Suddenly, Trump grabbed Carroll’s arm and said, “Let’s put this on.”

                 33.     Trump maneuvered Carroll to the dressing room. As they moved, Carroll laughed,

         thinking to herself that she would make him put the bodysuit on over his pants.

                 34.     Strangely for Bergdorf’s, the dressing room door was open and unlocked.

                 35.     Trump closed the door of the dressing room.

                 36.     Immediately, Trump lunged at Carroll, pushing her against the wall, bumping her

         head quite badly, and putting his mouth on her lips.

                 37.     Carroll shoved him back. Utterly shocked by Trump’s unexpected attack, Carroll

         burst out in awkward laughter. She could hardly process the insanity of the situation. She also

         hoped, at least at first, that laughter would bruise his ego and cause him to retreat.

                 38.     But Trump did not stop. He seized both of her arms and pushed her up against the

         wall again, bumping her head a second time. While pinning Carroll against the wall with his

          shoulder, Trump jammed his hand under her coatdress and pulled down her tights.



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                 39.     Trump opened his overcoat and unzipped his pants. Trump then pushed his fingers

          around Carroll’s genitals and forced his penis inside of her.

                 40.     Carroll resisted, struggling to break free. She tried to stomp his foot with her high

          heels. She tried to push him away with her one free hand (as she kept holding her purse with the

          other). Finally, she raised a knee up high enough to push him out and off her.

                 41.     Carroll ran out of the dressing room, out of Bergdorf’s, and onto Fifth Avenue.

                 42.     The whole attack lasted two to three minutes.

          II.    CARROLL CONFIDES IN TWO FRIENDS ABOUT THE RAPE

                 43.     As soon as she was outside Bergdorf’s, Carroll pulled her phone out of her purse

          and called her friend Lisa Birnbach, the author, journalist, and correspondent on TV morning

          shows. 1 Carroll was breathless and still reeling from the assault. She kept laughing, manically—

         her way of coping with the stress and trauma that she had just experienced.

                 44.     Carroll recounted to Birnbach how Trump had attacked her in Bergdorf’s dressing

          room. She told Birnbach how Trump had pulled down her tights and put his penis inside of her.

                 45.     “He raped you,” Birnbach kept repeating. She begged Carroll to go to the police

          and offered to accompany her. Still in shock and reluctant to think of herself as a rape victim,

          Carroll did not want to speak to the police. She told Birnbach that it was just a few minutes of her

          life and that it was over. She implored Birnbach never to tell anyone what had happened.

                 46.     Carroll drove home and crawled straight into bed.

                 47.     Over the next few days, Carroll confided in a second friend, the New York City

          journalist and news anchor Carol Martin. They sat together in the kitchen as Carroll described the



                 1
                   Birnbach wrote a story about Trump’s Mar-a-Lago that was published in February 1996.
          See Lisa Birnbach, Mi Casa Es Su Casa, NEW YORK (Feb. 12, 1996). Birnbach has suggested that
          it was because of her work on that article that Carroll called her immediately after the assault.
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          rape. This time, Carroll did not laugh. Nobody laughed. The gravity of the assault had finally

          started to sink in.

                  48.     Martin solemnly advised Carroll to tell no one. Recognizing that Trump was a

          powerful man, Martin feared that if her friend came forward, disaster would ensue. Martin warned

          Carroll, in sum and substance: “Tell no one. Forget it! He has two hundred lawyers. He’ll bury

         you.”

                  49.     Carroll took Martin’s advice. She knew how brutal and dangerous Trump could be.

                  50.     Carroll was also afraid of being dragged through the mud if she reported the rape.

         She was convinced that nobody would believe her if she came forward. And like so many other

         survivors of sexual assault, Carroll also blamed herself. She called herself “stupid.” She told

          herself that she “deserved it” for agreeing to go lingerie shopping with Trump. She struggled with

          the guilt that, somehow, though she had fought to protect herself from his attack, it was her fault

          that Trump had raped her because she had entered that Bergdorf dressing room.

                  51.     Fundamentally, Carroll was raised to believe that strong women get by in the world

          with a stiff upper lip—i.e., by putting hardship and suffering behind them. She believed that strong

         women laugh at disasters because feeling sad only doubles the burden. To Carroll, laughter is how

          women have dealt with calamity for thousands of years. So Carroll put her chin up and tried to

          move on.

                  52.     Carroll thus chose silence.

                  53.     Carroll did not mention the rape again for over twenty years. She did not want to

          be seen—or to see herself—as a victim of sexual assault.

                  54.     Carroll has not had sex with anyone since that day when Trump raped her.




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          III.     CARROLL REMAINS SILENT FOR TWENTY YEARS

                   55.   For the next twenty years, Carroll pursued her career as a writer and advice

          columnist. Over time, she built a loyal audience and enjoyed the support of her publisher. Her Ask

         E. Jean advice column in Elle magazine became the longest, still-active advice column in

         American publishing. Its success resulted in large part from the many letters sent to her by readers.

                   56.   Carroll’s column in Elle was about life and love. Readers’ questions ranged from

          the lighthearted to the deeply personal. From time to time, readers would ask questions about

          whether behavior that they experienced at work, at church, and in their relationships was

          appropriate. When Carroll detected sexism or abuse, she did her level best to call it out and to help

          women protect themselves.

                   57.   One reader, for example, despaired in 1994, “My boss is always rubbing up against

          me . . . . He scares me because he’s very powerful and could ruin me.” Carroll responded: “Darling,

          if the old snake has done so much to help your career, why are you still an assistant? Sex harassers

          are filthy yellow sneaking cowards and must be won over, or crushed . . . . If all else fails, next

          time the old waterhead touches you, give him a knee in the groin. You’ve got nowhere to go but

          up.” 2

                   58.   Another reader had been raped when thirteen years old and sought advice from

         Carroll because her rapist had just been hired as a co-worker. Carroll responded: “[T]he gentleness

          of your [letter] speaks strongly for your forgiving nature; however, it makes my duty very difficult.

          Because now I must harden your soul. I must twist a little bit of steel—I’d try a big block of metal




                   2
                 Reprinted in E. JEAN CARROLL, A DOG IN HEAT IS A HOT DOG AND OTHER RULES TO LIVE
          BY 28-29 (1996).


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          if I could—around your backbone, and persuade you to report your friend to the police.” 3 Carroll

         added:

                  “First, call your rape crisis center and speak with a counselor. Second, join a group
                  of rape survivors—with their hardy support, you’ll start constructing a world for
                  yourself and leave the world the rapist built for you. And, third, find another job at
                  once. (Do not tell your employer about the rape. Do not inform the rapist of these
                  steps. Stay cool. He’s dangerous.)” 4

                  59.       In her advice columns, Carroll sought to offer witty, wise, and worldly guidance,

         and to address her readers in a clear, straightforward manner. She often urged readers to speak the

         truth and to recognize patterns of rationalization and abuse. Readers’ perception of Carroll as

         honest, thoughtful, frank, and well-meaning were essential to Carroll’s professional success.

                  60.       But in responding to her readers, Carroll did not confess her own life experiences,

         including the sexual assault by Trump described above.

                  61.       During the last month of the election of 2016, Carroll watched a multitude of

         women reveal that Trump had engaged in sexual misconduct. She saw Trump brutally attacking

         his accusers on a national stage—denying their accusations, while also savaging their reputations

         and insulting their appearance.

                  62.       And as Carroll sat at the bedside of her dying mother in a Bloomington, Indiana

         hospital, watching numerous, credible women stun the nation with their stories of Trump’s sexual

         brutality, Carroll briefly considered whether she, too, should reveal that Trump had raped her. But

         she feared—just as she had for decades—that Trump would lie his way out of it, while destroying

         her life and reputation. He had done it before to plenty of women and, it seemed to Carroll, he

         would readily do it again. And, worst of all, coming forward with her story would also cause a



                  3
                      Id. at 141-42.
                  4
                      Id. at 142.

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          media storm in Indiana and destroy her mother’s last happy days on the planet. Carroll feared that

          it would cost her and her family dearly without actually changing anything, especially since any

          accusation made during the presidential campaign would be characterized by Trump and his allies

          as a stunt to thwart his election.

                  63.     Indeed, Carroll worried that she might make Trump more popular in states like

         Indiana by revealing the rape, since his electoral fortunes had steadily improved despite credible

         allegations of sexual abuse. To Carroll, it appeared that some of Trump’s political supporters

         actually admired the fact that Trump was rich enough, macho enough, and powerful enough to be

          sued by—and to pay off—all these women he had groped and penetrated (especially porn stars

          and Playboy models).

                  64.     Carroll, in honor of her mother’s remarkable life, many years of which were spent

         as a local and loyal Republican elected official, and because she thought the publicity would help

         Trump win the election, warily persisted in her decades-old silence.

                  65.     Carroll’s mother died on October 11, 2016. In 2017, Carroll decided to write a book

         drawing on her observations as an advice columnist, but focusing specifically on her own life and

         trying to understand why so many Ask E. Jean letter-writers complained about men. On the

         morning of October 5, 2017, Carroll set out on a road trip, traveling to towns named after women.

         When she arrived in each town named after a woman (Angelica, New York, Tallulah, Louisiana,

         Marianna, Arkansas, and so forth), she spoke to women from all walks of life about their

         relationships with men. She asked many of her subjects about the roles that men play in their lives.

         IV.      CARROLL DECIDES TO SPEAK OUT

                  66.     On the very day Carroll began her road trip for her book, October 5, 2017, the New

         York Times revealed that Harvey Weinstein had sexually assaulted and harassed dozens of women



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          in the film industry. 5 The news went off in Carroll’s mind like a bomb. She could not stop reading.

         Painful memories of abuse at the hands of men, including Trump, swept over her.

                 67.     Days later, several women accused Weinstein of rape. 6 It soon became clear to

          Carroll, and to the American people, that Weinstein’s abuses had been enabled for decades by a

          loose network of loyalists and lawyers, who had ensured that Weinstein evaded accountability for

          his exploitation of women—even though it was an open secret in Hollywood.

                 68.     As the Weinstein scandal persisted, Carroll saw society respond to the accusations

          with a seriousness and depth of self-reflection that she had never seen before; all too often, and as

          recently as the 2016 election, many Americans had brushed aside or marginalized accusations of

          sexual misconduct by powerful men. Carroll also saw other women suddenly feel emboldened to

          come forward with their own reports of harassment, exploitation, abuse, violence, and rape.

                 69.     Carroll was moved by this experience. The walls that she had erected in her mind—

          the fear that Trump would emerge unscathed, the wariness of allowing him and his allies to come

          after her, the doubt that speaking up would actually matter, and the nagging anxiety that she was

          somehow to blame for being raped—began to crumble. Decades of deflection, diversion, and

          denial dissolved, resurfacing memories and feelings that she had hidden away.

                 70.     Carroll was struck by the fact that Weinstein, for all his wealth and power, could

          still be held accountable for his sexual misconduct. She saw how women had at last changed the

          public conversation by saying “Me Too” and by demanding accountability.




                 5
                  Jodi Kantor & Megan Twohey, Harvey Weinstein Paid Off Sexual Harassment Accusers
          for Decades, N.Y. TIMES (Oct. 5, 2017).
                 6
                   Ronan Farrow, From Aggressive Overtures to Sexual Assault: Harvey Weinstein’s
          Accusers Tell Their Stories, NEW YORKER (Oct. 10, 2017).

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                 71.     These observations lead Carroll to reflect again on her column in Elle magazine,

          and to ask whether she was a hypocrite. For decades, she had paired her trademarked wit with

         steely resolve in confronting the everyday unfairness—and, all too often, the abuse—that her

          (largely female) readers confessed. Carroll’s written persona was brave. But she still had not

          confessed her own experiences of abuse, her fear of coming forward, or her creeping self-doubt.

                 72.     These internal reflections loomed larger in her mind—and became inescapable—

          as more readers of Carroll’s advice column began asking, “Should I come forward with my account

          of surviving sexual abuse or harassment?”

                 73.     Carroll finally decided that she owed her readers the truth. She also owed them (and

          many other women) solidarity in their efforts to bring justice and accountability to powerful men

          who had engaged in sexual assault and gotten away with it. She knew that it would be painful to

          speak up. But she also knew that it was the right thing to do so.

                 74.     While Carroll was on the road trip across the country talking to women as research

          for her book, she started a list of the 21 most hideous men she had ever encountered—men who

          had, each in his own way, left indelible and ugly marks on her story. This list grew into a book,

          What Do We Need Men For?: A Modest Proposal. In that book, Carroll interspersed the stories of

          women she had met while traveling the country with the men on her “Most Hideous List.”

                 75.     Two men on the Most Hideous List haunted Carroll the most. The first was Cam

          Parks, the Waterfront Director at her Girl Scout camp, a man who sexually abused her every day

          during a two-week period when she was twelve. The second was Donald Trump, the man who

          raped her when she was 52. Carroll described that attack in detail.

                 76.     Carroll knew a book was the right place for her to come forward about Trump’s

          assault. Writing is Carroll’s lifeblood; she writes to process the world around her and to reveal her



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          inner self. It’s her normal way of living: she writes about what happens to her, often in a

          confessional, idiosyncratic manner. She also believed that a book would allow her to control her

          narrative and speak directly to her readers. This was important. Carroll did not want to be, or to

          act like, a victim. She wanted to tell her story on her terms, rather than as filtered through

          journalists or social media. Her language was specific.

                 77.       In her book, Carroll truthfully described, in meticulous detail, the rape in Bergdorf

          Goodman:

                 “The next moment, still wearing correct business attire, shirt, tie, suit jacket,
                 overcoat, he opens the overcoat, unzips his pants, and, forcing his fingers around
                 my private area, then thrusts his penis halfway—or completely—I’m not certain—
                 inside me.” 7

                 78.       She also explained why she had not come forward earlier:

                 “Receiving death threats, being driven from my home, being dismissed, being
                 dragged through the mud, and joining the sixteen women who’ve come forward
                 with credible stories about how the man grabbed, badgered, belittled, mauled,
                 molested, and assaulted them, only to see the man turn it around, deny, threaten,
                 and attack them, never sounded like much fun. Also, I’m a coward.” 8

                 79.       At noon on June 21, 2019, New York magazine published Carroll’s account of the

          rape on NYMag.com as an excerpt of her forthcoming book. The excerpt first appeared on The

          Cut, a vertical on NYMag.com. The excerpt appeared on newsstands three days later in the June

         24-July 7 print edition.

                 80.       Carroll’s book was released by St. Martin’s Press on July 2, 2019.




                 7
                     E. JEAN CARROLL, WHAT DO WE NEED MEN FOR?: A MODEST PROPOSAL 248 (2019).
                 8
                     Id. at 244.

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          V.     TRUMP REPEATEDLY DENIES RAPING CARROLL AND MAKES A SLEW OF
                 FALSE, INSULTING STATEMENTS ABOUT HER

                 81.     In three statements—published on June 21, 22, and 24 respectively—Trump

          responded to Carroll by publicly, falsely, and maliciously smearing her reputation.

                 82.     On June 21, 2019, Trump issued the following public statement:

                 “Regarding the ‘story’ by E. Jean Carroll, claiming she once encountered me at
                 Bergdorf Goodman 23 years ago. I’ve never met this person in my life. She is trying
                 to sell a new book—that should indicate her motivation. It should be sold in the
                 fiction section.

                 Shame on those who make up false stories of assault to try to get publicity for
                 themselves, or sell a book, or carry out a political agenda—like Julie Swetnick who
                 falsely accused Justice Brett Kavanaugh. It’s just as bad for people to believe it,
                 particularly when there is zero evidence. Worse still for a dying publication to try
                 to prop itself up by peddling fake news—it’s an epidemic.

                 Ms. Carroll & New York Magazine: No pictures? No surveillance? No video? No
                 reports? No sales attendants around?? I would like to thank Bergdorf Goodman for
                 confirming that they have no video footage of any such incident, because it never
                 happened.

                 False accusations diminish the severity of real assault. All should condemn false
                 accusations and any actual assault in the strongest possible terms.

                 If anyone has information that the Democratic Party is working with Ms. Carroll or
                 New York Magazine, please notify us as soon as possible. The world should know
                 what’s really going on. It is a disgrace and people should pay dearly for such false
                 accusations.”

                 83.     Upon information and belief, Trump’s June 21 statement was first given to the

          press, including Laura Litvan of Bloomberg News, who posted it on Twitter at 2:17 p.m. 9




                 9
                      See Laura Litvan (@LauraLitvan), Twitter (June              21,   2019     2:17   PM),
          https://twitter.com/LauraLitvan/status/1142179819075121154.


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                 84.    Trump’s June 21 statement was subsequently shared online by other journalists and

          covered by many leading news sources as Trump’s statement in response to Carroll. 10

                 85.    In the June 21 statement, Trump falsely stated that he did not rape Carroll.

                 86.    In the June 21 statement, Trump falsely stated that he had never met Carroll.

                 87.    In the June 21 statement, Trump falsely implied and affirmatively intended to imply

          that he had no idea who Carroll was.


                 10
                   See, e.g., AFP News Agency, US Writer Says Trump Sexually Assaulted Her in Mid-
         1990s, AL JAZEERA, (June 21, 2019); Alexandra Alter, E. Jean Carroll Accuses Trump of Sexual
         Assault in Her Memoir, N.Y. TIMES (June 21, 2019); Jenna Amatulli, Trump on E. Jean Carroll
         Rape Allegation: “I’ve Never Met This Person in My Life”, HUFFINGTON POST (June 21, 2019);
         Amber Athey, Trump Responds to Rape Accuser: “People Should Pay Dearly for Such False
         Accusations”, DAILY CALLER (June 21, 2019); Brian Bennet, Trump Says He “Never Met” Author
         Who Has Accused Him of Sexual Assault, TIME (June 21, 2019); Ellie Bufkin, Trump Issues
         Blistering Denial of E. Jean Carroll's Rape Allegation, WASH. EXAMINER (June 21, 2019); Adam
         Carlson, Noted Advice Columnist Says Trump Raped Her in Manhattan Department Store in the
         ’90s—“Never Happened,” Trump Responds, PEOPLE MAG. (June 21, 2019); Matthew Choi, Trump
         Dismisses New Sexual Assault Allegation, POLITICO (June 21, 2019); Casey Darnell, Writer Says
         She Was Raped by Trump in 1990s, YAHOO! NEWS (June 21, 2019); EJ Dickson, E. Jean Carroll
         Alleges President Donald Trump Assaulted Her, ROLLING STONE (June 21, 2019); Vivian Ho &
         Lauren Gambino, Evening Summary: Trump Responds to E Jean Carroll’s Allegations, GUARDIAN
         (June 21, 2019); Colby Itkowitz, Magazine Columnist Accuses Trump of Sexual Assault More than
         Two Decades Ago, an Allegation He Denies, WASH. POST (June 21, 2019); Sarah Jones, E. Jean
         Carroll: “Trump Attacked Me in the Dressing Room of Bergdorf Goodman.”, N.Y. MAG. (June
         21, 2019); Hilary Lewis, E. Jean Carroll Says Bringing Rape Charges Against Trump Would Be
         “Disrespectful” to Migrant Women, HOLLYWOOD REP. (June 22, 2019); Caitlin Mac Neal, Advice
         Columnist E. Jean Carroll Accuses Donald Trump Of Sexual Assault, TALKING POINTS MEMO
         (June 21, 2019); Alex Pappas, Longtime Advice Columnist E. Jean Carroll Accuses Trump of
         Sexual Assault in 1990s, FOX NEWS, (June 21, 2019); Daniel Politi, Trump Goes on Tirade to Deny
         Latest Assault Allegation: Women Are “Paid Money” to Make False Claims, SLATE (June 22,
         2019); Christina Prignano, Author E. Jean Carroll Accuses President Trump of Sexual Assault in
         1990s, BOS. GLOBE (June 21, 2019); Eliza Relman, Trump Claims He’s Never Met the Columnist
         Who Just Accused Him of Sexual Assault Despite Photo Evidence of Them Together, BUS. INSIDER
         (June 21, 2019); Darlene Superville, Trump Denies Knowing NY Woman Accusing Him of Sexual
         Assault, ASSOCIATED PRESS (June 22, 2019); Jessica Taylor, Trump Denies New Sexual Assault
         Allegation by Advice Columnist E. Jean Carroll, NPR (June 21, 2019); Josh Wingrove, Columnist
         E. Jean Carroll Accuses Trump of Sexual Assault in 1990s, FORTUNE (June 21, 2019); Trump
         Dismisses E. Jean Carroll Rape Allegation as “Fiction”, BBC NEWS (June 22, 2019); Josh
         Wingrove, Woman Accuses Trump of Sexual Assault at New York Store in 1990s, BLOOMBERG
         (June 21, 2019).

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                 88.     In the June 21 statement, Trump falsely implied and affirmatively intended to imply

          that Carroll had invented the rape accusation as a ploy for increased book sales.

                 89.     In the June 21 statement, Trump falsely implied and affirmatively intended to imply

          that Carroll invented the rape accusation to carry out a political agenda.

                 90.     In the June 21 statement, Trump falsely implied and affirmatively intended to imply

          that Carroll invented the rape accusation as part of a conspiracy with the Democratic Party.

                 91.     On June 22, 2019, Trump made the following statement to reporters:

                 “[Reporter]: [Y]ou had said earlier that you never met E. Jean Carroll. There was
                 a photograph of you and her in the late 1980’s—

                 [Trump]: I have no idea who this woman is. This is a woman who has also accused
                 other men of things, as you know. It is a totally false accusation. I think she was
                 married—as I read; I have no idea who she is—but she was married to a, actually,
                 nice guy, Johnson—a newscaster.

                 [Reporter]: You were in a photograph with her.

                 [Trump]: Standing with coat on in a line—give me a break—with my back to the
                 camera. I have no idea who she is. What she did is—it’s terrible, what’s going
                 on. So it’s a total false accusation and I don’t know anything about her. And she’s
                 made this charge against others.

                 And, you know, people have to be careful because they’re playing with very
                 dangerous territory. And when they do that—and it’s happening more and
                 more. When you look at what happened to Justice Kavanaugh and you look at
                 what’s happening to others, you can’t do that for the sake of publicity.

                 New York Magazine is a failing magazine. It’s ready to go out of business, from
                 what I hear. They’ll do anything they can. But this was about many men, and I was
                 one of the many men that she wrote about. It’s a totally false accusation. I have
                 absolutely no idea who she is. There’s some picture where we’re shaking hands. It
                 looks like at some kind of event. I have my coat on. I have my wife standing next
                 to me. And I didn’t know her husband, but he was a newscaster. But I have no idea
                 who she is—none whatsoever.

                 It’s a false accusation and it’s a disgrace that a magazine like New York—which is
                 one of the reasons it’s failing. People don’t read it anymore, so they’re trying to get
                 readership by using me. It’s not good.



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                  You know, there were cases that the mainstream media didn’t pick up. And I don’t
                  know if you’ve seen them. And they were put on Fox. But there were numerous
                  cases where women were paid money to say bad things about me. You can’t do
                  that. You can’t do that. And those women did wrong things—that women were
                  actually paid money to say bad things about me.

                  But here’s a case, it’s an absolute disgrace that she’s allowed to do that.” 11

                  92.     Like his first statement, Trump’s June 22 statement regarding Carroll was widely

          reported in the national press. 12

                  93.     In the June 22 statement, Trump falsely stated that he did not rape Carroll.

                  94.     In the June 22 statement, Trump falsely stated that he had no idea who Carroll was.

                  95.     In the June 22 statement, Trump falsely implied and affirmatively intended to imply

          that Carroll had falsely accused other men of sexual assault.

                  96.     In the June 22 statement, Trump falsely implied and affirmatively intended to imply

          that Carroll had been paid money to invent the rape accusation against him.




                  11
                    Remarks by President Donald Trump Before Marine One Departure, WHITE HOUSE
          (June 22, 2019).
                  12
                   See, e.g., Matthew Chapman, Trump Goes on Manic Tirade After Being Asked About
         New Rape Allegation: Women Get “Paid Money to Say Bad Things About Me”, RAW STORY (June
         22, 2019); William Cummings, Writer E. Jean Carroll Made a Claim of Sexual Assault Against
         Trump. Here's What We Know, USA TODAY (June 25, 2019); Gillian Edevane, George Conway
         Says Trump’s Credibility is “Annihilated” After President Denies Knowing Alleged Assault
         Victim, NEWSWEEK (June 22, 2019); Lulu Garcia-Navarro, “It Hurt. And It Was Against My Will”:
         Trump Accuser Stands by Her Story, NPR (June 22, 2019); Amanda Holpuch, Trump Repeats
         Contested Claim He Does Not Know Latest Sexual Assault Accuser, GUARDIAN (June 22, 2019);
         Colby Itkowitz et al., Trump Compares Himself to Kavanaugh in Latest Sexual Assault Allegation,
         WASH. POST (June 22, 2019); Darlene Superville, Trump Denies Knowing E. Jean Carroll, Woman
         Accusing Him of Sexual Assault in Department Store, ABC NEWS (June 22, 2019); Darlene
         Superville, Trump Denies Knowing NY Woman Accusing Him of Sexual Assault, ASSOCIATED
         PRESS (June 22, 2019); Mihir Zaveri, Trump Emphatically Denies Sexual Assault Allegation by E.
         Jean Carroll, N.Y. TIMES (June 22, 2019); Trump Dismisses E. Jean Carroll Rape Allegation as
         “Fiction”, BBC NEWS (June 22, 2019).



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                 97.    Two days later, on June 24, 2019, The Hill released an interview in which Trump

          made the following statement in response to Carroll: “I’ll say it with great respect: Number one,

          she’s not my type. Number two, it never happened. It never happened, OK?” 13

                 98.    Trump’s statement in The Hill was widely reported by the national press. 14

                 99.    This insulting statement was consistent with Trump’s response to other accusations

          of sexual assault. About one woman who claimed he groped her and tried to put his hand up her

          skirt while they were seated next to each other on an airplane, Trump told crowds at a rally,




                 13
                   Jordan Fabian & Saagar Enjeti, EXCLUSIVE: Trump Vehemently Denies E. Jean Carroll
          Allegation, Says “She’s Not My Type”, HILL (June 24, 2019).
                 14
                   See, e.g., Julia Arciga, Trump on E. Jean Carroll’s Assault Allegations: “She’s Not My
         Type”, DAILY BEAST (June 24, 2019); Associated Press, Trump on E. Jean Carroll Sexual Assault
         Claim: “She's Not My Type”, HOLLYWOOD REP. (June 25, 2019); Associated Press, Trump Says
         Famed Advice Columnist Who Accused Him of Sexual Assault Is “Not My Type’, CHI. TRIB. (June
         24, 2019); Associated Press, Trump: Woman Who Accused Him of Sexual Assault Not His Type,
         DENVER POST (June 24, 2019); Amber Athey, Trump Says Columnist Who Accused Him of Rape
         Is “Not My Type”, DAILY CALLER (June 24, 2019); Peter Baker & Neil Vigdor, Trump, Accused
         Again of Sexual Misconduct, Insults Woman Who Said He Assaulted Her, BOS. GLOBE (June 25,
         2019); Antonia Blumberg, Trump on E. Jean Carroll Accusing Him of Rape: “She’s Not My
         Type”, HUFFINGTON POST (June 24, 2019); Doina Chiacu, Trump Denies Woman’s Sexual Assault
         Accusation: “She's Not My Type”, BUS. INSIDER (June 25, 2019); Doina Chiacu, Trump Denies
         Woman’s Sexual Assault Accusation: “She's Not My Type”, REUTERS (June 25, 2019); Burgess
         Everett & Melanie Zanona, “I Believe the President”: GOP Stands by Trump on Sexual Assault
         Allegation, POLITICO (June 25, 2019); Rebecca Falconer, Trump Says He Didn't Rape Author E.
         Jean Carroll: “She's Not My Type”, AXIOS (June 24, 2019); Megan Garber, The Real Meaning of
         Trump’s “She’s Not My Type” Defense, ATLANTIC (June 25, 2019); Rebecca Morin, “She’s Not
         My Type”: Trump Again Denies E. Jean Carroll's Sexual Misconduct Allegation, USA TODAY
         (June 24, 2019); Ari Shapiro, A Look at President Trump's Pattern of Responding To Accusations
         Of Sexual Misconduct, NPR (June 25, 2019); Matt Stieb, Trump Responds to E. Jean Carroll Rape
         Allegation: “She’s Not My Type”, CUT (June 25, 2019); Jia Tolentino, E. Jean Carroll’s
         Accusation Against Donald Trump, and the Raising, and Lowering, of the Bar, NEW YORKER (June
         25, 2019); Jay Willis, Donald Trump Responds to E. Jean Carroll's Rape Allegation: “She's Not
         My Type”, GQ (June 25, 2019); Anthony Zurcher, Trump Says Sexual Assault Accuser E Jean
         Carroll “Not My Type”, BBC NEWS (June 25, 2019).


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          “Believe me. She would not be my first choice. That I can tell you.” 15 He reportedly called that

          same woman “the cunt on the airplane” when he ran into her at a charity gala years after the

          assault. 16 About a second woman, who claimed he forcibly pinned her to a wall and kissed her

          without consent while she was interviewing him for a magazine, Trump said to crowds at another

          rally, “Take a look. You take a look. Look at her, [then] look at her words. You tell me what you

          think. I don’t think so. I don’t think so.” 17 Indeed, Trump often responds to claims that he has

          behaved inappropriately by simultaneously attacking the individual’s credibility and

          attractiveness. When a female journalist quoted him as saying in a 1992 interview that “you have

          to treat women like shit,” Trump insisted later, “The woman’s a liar, extremely unattractive, lots

          of problems because of her looks.” 18

                 100.      In the June 24 statement, Trump falsely stated that he did not rape Carroll.

                 101.      On June 27, Birnbach and Martin went on the record to corroborate Carroll. 19

                 102.      Speaking to Carroll, Martin, and a reporter, Birnbach said:

                 “I remember [Carroll] saying repeatedly, he pulled down my tights . . . . [Carroll]
                 did say, he put his penis in me. And I said—my face just did it. What? He raped
                 you? And [Carroll] said, eh, he kept pulling down—he pulled down my tights. He
                 pulled down my tights . . . . It just—it was horrible. We fought. And I said, let’s go
                 to the police. No. Come to my house. No. I want to go home. I’ll take you to the


                 15
                   Jose A. DelReal, Trump Mocks Sexual Assault Accusers: “She Would Not Be My First
          Choice”, WASH. POST (Oct. 14, 2016).
                 16
                 BARRY LEVINE & MONIQUE EL-FAIZY, ALL THE PRESIDENT’S WOMEN: DONALD TRUMP
         AND THE MAKING OF A PREDATOR 72 (2019).
                 17
                 Naomi Lim, Donald Trump on Accuser: “Take a Look at Her . . . I Don’t Think So”,
         CNN (Oct. 13, 2016).
                 18
                  Nancy Collins, Donald Trump Talks Family, Women in Unearthed Transcripts: “When
          I Come Home and Dinner’s Not Ready, I Go Through the Roof”, HOLLYWOOD REP. (Oct. 13,
          2016).
                 19
                      Michael Barbaro et al., Corroborating E. Jean Carroll, N.Y. TIMES (June 27, 2019).


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                 police. No. It was 15 minutes of my life, it’s over. Don’t ever tell anybody. I just
                 had to tell you.” 20

                 103.       Responding to Carroll, Birnbach, and a reporter, Martin said:

                 “From what I could sense of you, you were, A, you were handling it, as you handle
                 things. She doesn’t break down easily on anything. And there was none of that, as
                 you told me. It wasn’t like she started crying, or nothing that was a frantic kind of
                 response to it. It was like, I can’t believe this happened.” 21

                 104.       Martin added: “I said, don’t tell anybody. I wouldn’t tell anybody this.” 22

                 105.       Separately, Birnbach observed, “I believe E. Jean in this episode that she recounted

          to me in 1996. Yes. Without hesitation. She’s not a fabulist. She doesn’t make things up.” 23

         VI.     TRUMP’S FALSE STATEMENTS ABOUT CARROLL WERE MADE WITH
                 KNOWLEDGE OF FALSITY OR RECKLESS DISREGARD FOR THE TRUTH

                 106.       The false statements that Trump made about Carroll on June 21, 22, and 24, 2019,

         were published with knowledge of their falsity and/or with reckless disregard for the truth.

                 107.       Trump knew who Carroll was at the time he raped her.

                 108.       Trump identified Carroll on sight when they met at Bergdorf Goodman.

                 109.       In that period, Trump moved in the same highly publicized New York City media

         circles as Carroll, who also appeared on her own popular daily television program.




                 20
                      Id.
                 21
                      Id.
                 22
                      Id.
                 23
                 Jessica Bennett et al., Why E. Jean Carroll, “the Anti-Victim,” Spoke Up About Trump,
         N.Y. TIMES (June 27, 2019).

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                110.     In 1987, Trump and Carroll were photographed at a party together:




                111.     Trump has stated that he possesses “one of the great memories of all time.” 24

                112.     Trump has also described himself as a “very stable genius.” 25

                113.     In June 2019, Trump knew it was false to state that he had never met Carroll.

                114.     In June 2019, Trump knew it was false to state that he had no idea who Carroll was.

                115.     In June 2019, Trump knew it was false to state that he had never raped Carroll.

                116.     Trump’s other defamatory statements about Carroll in June 2019—that she had

         fabricated the rape accusation to increase her book sales, to carry out a political agenda, as part of

         a conspiracy with the Democratic Party, or in exchange for payment—rested on the express or

         deliberately-implied premise that Carroll’s underlying accusation was false. Because Trump knew

         that the accusation was true, he also knew that his other statements about Carroll were false.

                117.     Moreover, Trump lacked any factual basis for these highly specific statements

         regarding why Carroll had revealed to the public that he raped her at Bergdorf Goodman. And

         since all of these statements about Carroll were made to impute motives for lying, when in fact he




                24
                 Foreign Staff, Donald Trump: I Have “One of the Greatest Memories of All Time”,
         TELEGRAPH (Oct. 26, 2017).
                25
                     Daniella Diaz, Trump: I’m a “Very Stable Genius”, CNN (Jan. 6, 2018).

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          knew that Carroll had spoken the truth, Trump had strong reason to doubt the veracity of his own

          insulting claims. Trump thus published these statements with reckless disregard for the truth.

                 118.    Trump also lacked any factual basis for stating (or affirmatively implying) that

          Carroll had falsely accused other men of sexual assault. And since he knew that her accusation

          against him was truthful, he had strong reason to doubt the veracity of his statement that she was

          lying about other men. Trump thus made this statement with reckless disregard for the truth.

                 119.    Carroll did not reveal Trump’s rape for any of the reasons imputed to her by Trump.

          Each and every statement that he made about her motives for coming forward—and her supposed

          conspiracy with political actors to fabricate a rape accusation—was false.

                 120.    To the contrary, Carroll feared that revealing Trump’s rape would cause terrible

          damage to her reputation, career, and personal life. That was especially true given Trump’s famed

          litigiousness and public abuse of those who criticize him. Carroll made this decision to honor her

          values and to inspire other sexually abused women to seek justice and accountability.

                 121.    With respect to politics, to the extent Carroll considered such things at all, it was

          principally to worry that coming forward might benefit Trump by firing up his base and affording

          him another opportunity to play the victim on national television.

                 122.    Trump’s series of false, insulting, and defamatory statements about Carroll—and

          his actual malice in making those statements—are fully consistent with his tried-and-true playbook

          for responding to credible public reports that he sexually assaulted women.




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                 123.     In 2005, Trump admitted—on a hot mic—to repeatedly sexually assaulting women

          in almost exactly the same manner that he had raped Carroll:

                 “I’d better use some Tic Tacs just in case I start kissing her [the woman Trump was
                 looking at, whom he had never met before]. You know, I’m automatically attracted
                 to beautiful—I just start kissing them. It’s like a magnet. Just kiss. I don’t even
                 wait. And when you’re a star, they let you do it. You can do anything. Grab them
                 by the pussy. You can do anything. . . . Oh, [she has] nice legs, huh?” 26

                 124.     Based on Carroll’s own experiences, Trump’s 2005 statement was not “locker room

          talk” or mere braggadocio. It was a true description of how Trump believes he can treat women—

          and of how he has treated them on many occasions, including at Bergdorf Goodman.

                 125.     Indeed, Trump has openly suggested that sexual assault is inevitable when men and

          women interact. In 2013, for instance, he tweeted: “26,000 unreported sexual assults [sic] in the

          military . . . . What did these geniuses expect when they put men & women together?” 27

                 126.     In addition to Carroll, Trump has been accused publicly by over a dozen women of

         forcibly kissing them, groping them above or below the waist, or attempting to rape them—often

          upon meeting him for the very first time. Those women include Jill Harth, Jessica Leeds, Cathy

          Heller, Temple Taggart McDowell, Karena Virginia, Bridget Sullivan, Tasha Dixon, Mindy

          McGillivray, Rachel Crooks, Natasha Stoynoff, Summer Zervos, and Cassandra Searles. Trump

          has responded to their accusations in a manner eerily similar to the statements he made about

          Carroll in June 2019.

                 127.     A recently published book by Barry Levine and Monique El-Faizy documents 67

          incidents of alleged inappropriate behavior by Trump toward women, including 26 allegations of

          unwanted sexual contact. Forty-three of the allegations of inappropriate behavior in the book had


                 26
                      Transcript: Donald Trump’s Taped Comments About Women, N.Y. TIMES (Oct. 8, 2016).
                 27
                      Daniella Diaz, Trump Defends Tweet on Military Sexual Assault, CNN (Sept. 8, 2016).


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          not been previously reported. 28 The book traces “Trump’s transformation from a kid from Queens

          to high school ‘ladies’ man’ into a womanizing, model-chasing, porn-star-frequenting

          philanderer,” who “repeatedly and systematically engaged in aggressive sexual pursuit of women

          over the course of many decades.” 29 In one instance, Karen Johnson describes Trump hiding

          behind a tapestry at his Mar-a-Lago home during a party and, when she walked by to use the

          restroom, grabbing her by the genitals, pulling her toward him, and kissing her without consent. 30

          In another, Kristin Anderson describes Trump putting his hands up her skirt and touching her

          vagina through her underwear in a Manhattan nightclub. Trump denied that could have happened

          because he never would have been at a nightclub alone. 31

                 128.      Trump thus knew he was lying when he said that Carroll had fabricated her rape

          accusation for a hodgepodge of unsavory reasons that he himself had invented out of whole cloth.

          He knew she was telling the truth because he knew who she was and he knew that he had raped

          her, just as he had sexually assaulted many other women over many years.

          VII.   CARROLL SUFFERS REPUTATIONAL AND OTHER HARM

                 129.      Trump’s false and insulting statements about Carroll were defamation per se. They

          tended to (and did) damage Carroll in her trade, occupation, and/or business, and they were

          defamatory on their face without reference to any extrinsic information.

                 130.      Carroll has suffered harm as a direct result of Trump’s false, defamatory statements.

                 131.      Carroll endured stoically when she kept secret the fact that Trump had raped her.

         But coming forward put her in the crosshairs of the most powerful man on the planet. He has since


                 28
                      See LEVINE & EL-FAIZY, supra n.16, at 2.
                 29
                      Id. at 2-3.
                 30
                      Id. at 80-82, 88, 254.
                 31
                      Id. at 250-51.

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          used that platform to attack her integrity, demean her appearance, condemn her as a liar, and accuse

          her of conspiring with political operatives in a despicable lie.

                  132.    These defamatory statements have caused Carroll emotional pain and suffering at

         the hands of the man who raped her, as well as injury to her reputation, honor, and dignity.

                  133.    Carroll has suffered professional harm as a direct result of Trump’s defamatory

         statements. Carroll’s professional success is inextricably bound up with her Ask E. Jean advice

         column, where readers look to her for wisdom, wit, honesty, integrity, and courage. By attacking

         Carroll, Trump has injured the reputation on which she makes her livelihood and attracts readers.

                  134.    Trump’s defamatory statements caused Carroll to lose the support and goodwill of

         many of her readers. Many were turned off by even the idea of writing to a woman whom the

         President of the United States branded a “liar.” Since Trump defamed her, some fans have stopped

         sending letters altogether—thus impairing Carroll’s column, which requires a steady flood of

         compelling letters to which she can respond. In the months of July, August, and September 2019,

         Carroll received roughly 50% fewer letters than she received during the same period in 2018.

                  135.    Carroll is an advice columnist whose reputation is the very lifeblood of her trade,

         and Trump’s defamatory statements have therefore inflicted wide-ranging and substantial harm.

                  136.    Carroll filed this lawsuit to obtain redress for those injuries.

                                       CAUSE OF ACTION: DEFAMATION

                  137.    Plaintiff Carroll incorporates by reference all preceding paragraphs and re-alleges

          them as if set forth fully herein.

                  138.    Trump published statements to the media on June 21, 22, and 24, 2019.

                  139.    Each of those statements identified—and was “of or concerning”—Carroll.




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                  140.    Each of those statements contained numerous falsehoods about Carroll, whether on

          their face and/or by virtue of a clear implication affirmatively intended by Trump.

                  141.    Trump’s false statements regarding Carroll were defamatory per se.

                  142.    Trump’s false and defamatory statements were published throughout New York

          State and around the world on television, in newspapers and magazines, on social media, and

          elsewhere in print and on the internet. Trump ensured that his false and defamatory statements

          about Carroll would receive a wide circulation by making them to the national press.

                  143.    Trump made these false and defamatory statements knowing that they were false

          or with reckless disregard for their truth or falsity.

                  144.    Trump made these false statements with ill will and spite, and with wanton,

          reckless, or willful disregard for their injurious effects on Carroll and Carroll’s rights.

                  145.    Trump’s false and defamatory statements caused Carroll to suffer reputational,

          emotional, and professional harm, as alleged above.

                                                PRAYER FOR RELIEF

                      WHEREFORE, Carroll prays for relief as follows:

                  a. Ordering Trump to retract any and all defamatory statements;

                  b. Ordering Trump to pay compensatory damages in an amount to be determined at trial;

                  c. Ordering Trump to pay punitive damages in an amount to be determined at trial; and

                  d. Awarding pre- and post-judgment interest, costs, and such other and further relief as

                      this Court may deem just and proper.




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          Dated: November 4, 2019                    Respectfully submitted,



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